UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      5/28/2021


429-441 86TH STREET, LLC,

                                            Plaintiff,                 21-CV-01356 (ALC) (SN)

                          -against-                                  CIVIL CASE MANAGEMENT
                                                                       PLAN & SCHEDULING
TOWN SPORTS INT’L HOLDINGS, INC.,                                             ORDER

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        On May 24, 2021, the parties appeared for an Initial Pretrial Conference. After review of

the parties’ joint submission, the following scheduling order is entered pursuant to Rule 16 of the

Federal Rules of Civil Procedure:

        Discovery. All fact discovery shall be completed by Friday, September 24, 2021.

Disclosure of expert evidence as required by Rule 26(a)(2)(A), (B) or (C), including the

identities and reports of experts, if any, shall be made by Friday, September 24, 2021. All expert

discovery shall be completed by Monday, October 25, 2021.

        Status Letter. A joint letter informing the Court about the status of discovery shall be

filed with the Court by Tuesday, July 27, 2021. The letter should address any outstanding

discovery disputes.

        Settlement Conference. In light of the Court’s busy calendar, settlement conferences

must generally be scheduled at least six to eight weeks in advance. The Court will likely be

unable to accommodate last-minute requests for settlement conferences, and the parties should

not anticipate that litigation deadlines will be adjourned in response to late requests for
settlement conferences. Accordingly, the parties are encouraged to contact Courtroom Deputy

Rachel Slusher, rachel_slusher@nysd.uscourts.gov, with three mutually convenient dates to

schedule a settlement conference for a time when they believe it would be productive.

       Summary Judgment Motion. Any party that wishes to file a motion for summary

judgment shall file a pre-motion letter with the Hon. Andrew L. Carter, Jr., by Monday,

November 8, 2021.

       Trial. The Defendant requests a jury trial, and the Plaintiff maintains that this right has

been waived. This dispute shall be addressed, if still relevant, after summary judgment motions

have been resolved.

SO ORDERED.




DATED:        May 28, 2021
              New York, New York




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